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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

EDWARD JAMAR PERSON,

            Plaintiff,                        CIVIL ACTION NO.
      v.                                      1:22-CV-02572-SEG-JEM

SHERIFF VICTOR HILL, et al.,

            Defendants.

                                 ORDER

      The undersigned hereby RECUSES herself from further participation

in this action, pursuant to Canon 3(c) of the Code of Conduct for United

States Judges. The Clerk is DIRECTED to reassign this action to another

judge in accordance with the Internal Operating Procedures of this Court.

      SO ORDERED this 30th day of June, 2022.



                                    SARAH E. GERAGHTY
                                    United States District Judge
